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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION


IN RE: FACEBOOK, INC. CONSUMER                 MDL No. 2843
PRIVACY USER PROFILE LITIGATION                Case No. 18-md-02843-VC


This document relates to:                      NOTICE IN RESPONSE TO COURT’S
                                               ORDER DENYING MOTION TO
ALL ACTIONS                                    INTERVENE AND INVITING FURTHER
                                               BRIEFING

                                               Judge: Hon. Vince Chhabria
                                               Courtroom: 4, 17th Floor




NOTICE RE ORDER DENYING MOTION                                                 MDL NO. 2843
TO INTERVENE                                                        CASE NO. 18-MD-02843-VC
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          Plaintiffs make this submission in response to the Court’s Order Denying Motion to

Intervene and Inviting Further Briefing (the “Order”), ECF No. 1127.

          Plaintiffs have served the Court’s Order on counsel of record in the following lawsuits

brought by any state, including lawsuits brought by a local prosecutor or city attorney in the

name of the state or its people, which Plaintiffs believe may be based on the conduct at issue in

this case:
        •         State of New Mexico, ex rel. Hector Balderas, Attorney General v. Facebook,
                  Inc., No. D-101-CV-2021-00132 (District Court of Santa Fe County, New
                  Mexico).

          •       District of Columbia v. Facebook, Inc., Case number: 2018 CA 008715 B
                  (Superior Court for the District of Columbia, Civil Division).

          •       People of Illinois ex rel. Kimberly M. Foxx v. Facebook, Inc., Case No. 2018 CH
                  03868 (Circuit Court of Cook County, Illinois).

          •       Attorney General v. Facebook, Inc., 1984CV0259-BLS-1 (Superior Court of
                  Suffolk County, Massachusetts).

          •       People of the State of California ex rel. Attorney General Xavier Becerra v.
                  Facebook, Inc., Case No. CPF-19-516916 (Superior Court for the State of
                  California, County of San Francisco).1

Proofs of service are attached hereto as Appendix A.

          The list above is based on Plaintiffs’ good-faith effort to identify relevant lawsuits. Since

Facebook is best positioned to identify “any state that currently has a lawsuit against Facebook

based on the conduct at issue in this case . . . includ[ing] cases where a local prosecutor or city

attorney has brought an action in the name of the state or its people,” Order at 3, Plaintiffs asked

Facebook to identify all such litigation and counsel of record for plaintiffs in those cases. The list

above, and the proofs of service in Appendix A, reflect all cases identified by Plaintiffs and


1
    It is Plaintiffs’ understanding that the Massachusetts and California actions are not specifically
    covered by the Court’s Order. Each state brought a petition to enforce compliance with pre-
    lawsuit investigatory demands. As such, neither is a lawsuit based on the conduct at issue in
    this case. However, Plaintiffs served the notice required by the Court’s Order on counsel of
    record for Massachusetts and California out of an abundance of caution because each state’s
    investigatory demands sought information related to the conduct at issue in this case.

NOTICE RE ORDER DENYING MOTION                      1                                     MDL NO. 2843
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Facebook. Plaintiffs also note that each Attorney General in every state received notice of the

settlement pursuant to the Class Action Fairness Act on January 6, 2023, whether or not the state

had pending litigation against Facebook based on the conduct at issue in this case.


Dated: March 9, 2023                                 Respectfully submitted,

KELLER ROHRBACK L.L.P.                               BLEICHMAR FONTI & AULD LLP

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             ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)
       I, Lesley E. Weaver, attest that concurrence in the filing of this document has been obtained

from the other signatory. I declare under penalty of perjury that the foregoing is true and correct.

       Executed this 9th day of March, 2023, at Oakland, California.

                                                      /s/ Lesley E. Weaver
                                                      Lesley E. Weaver




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